Case 2:95-Cr-20252-BBD Document 313 Filed 05/24/05 Page 1 of 3 Page|D 103

  

 

IN THE UNITED sTATES DISTRICT cOURT HUD”*\'» »-33
FOR THE wEsTERN DISTRICT OF TENNESSEE r
wEsTERN DIVISION GDHAYZM SH 6138
l-\':;ue_1 . . ,r-;:£Lc;~
CLERH`LMLYDBT cr

UN:TED STATES OF AMERICA, WVD UFTN_MEMpHE
Piaintiff,
v. No. 95-20252 Ml
THOMAS c. JOHNSON,

Defendant.

`-._/-_/-_/-_/~_/-_/-._/~_/~._/-_/

 

ORDER DENYING REQUES'I' 'I`O ELIMINATE RESTITUTION

 

Before the Court is Thomas Johnson’s request (via letter

received March 3, 2005) to eliminate his restitution in this oase.

On August 28, 2000, the Court ordered that the three-year term
of supervision in connection with Mr. Johnson’s sentence in this
case be allowed to expire on September 16, 2000, with the
understanding that the victims could continue to pursue the
restitution balance. On March 14, 2002, the United States of
America, by and through Assistant United States Attorney Monica
Simmons, filed an Application for Writ of Continuing Garnishment
for the unpaid balance of Mr. Johnson's restitution. On June 12,
2002, a Garnishment Disposition Order was entered by the Clerk of

Court ordering funds withheld from the defendant’s wages.

v i q
"'¢1~3 'ioc!_lment entered on the docket§et ma mp|.ar‘.<,
w.=.n Ru‘.e 53 and/or 32(b) FRCrP on 532 §§

 

Case 2:95-Cr-20252-BBD Document 313 Filed 05/24/05 Page 2 of 3 Page|D 104

No information has been submitted that warrants the
elimination of restitution. The defendant's request for

elimination of restitution in this case is DENIED.

IT Is so cRDERED THIS.Q§; DAY OF May, 2005.

Q m lll?t

JO' P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

lsTRICT COURT - WETERN DISTRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 313 in
case 2:95-CR-20252 Was distributed by faX, mail, or direct printing on

May 24, 2005 to the parties listed.

 

Arthur E. Quinn

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/lemphis7 TN 38120

Cam ToWers J ones

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

